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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF MISSOURI


FEDERAL TRADE COMMISSION,

                              Plaintiff,

                       v.
                                                         Civil Action No. 4:20-cv-00317-SEP
PEABODY ENERGY CORPORATION

and

ARCH RESOURCES, INC.,

                              Defendants.



                               STIPULATION OF DISMISSAL

       Plaintiff Federal Trade Commission respectfully requests voluntary dismissal without

prejudice of the claims asserted in this action against Defendants pursuant to Rule 41(a)(2) of the

Federal Rules of Civil Procedure. The Court has granted the relief sought in the complaint and

Defendants have abandoned the proposed transaction. Defendants stipulate to dismissal without

prejudice of these claims.




Dated: January 28, 2021




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                                 CERTIFICATE OF SERVICE


       I HEREBY CERTIFY that on the 28th day of January, 2021, I served the foregoing on all
counsel of record via the Court’s CM/ECF system:




                                            /s/ Daniel Matheson
                                            Daniel Matheson
                                            Attorney for Plaintiff Federal Trade Commission




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